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                   IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


     STEWART SMITH and BRENNAN
     LANDY, individually and on behalf         CIVIL ACTION
     of all others similarly situated,
                        Plaintiffs,           Case No. 2:19-cv-20673
         v.
                                              RESPONSE IN OPPOSITION TO
     PRO CUSTOM SOLAR LLC d/b/a               DEFENDANT’S MOTION TO STAY
     MOMENTUM SOLAR, a New
     Jersey limited liability company,
                                              Motion Date: March 16, 2020
                        Defendant.
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             MEMORANDUM OF POINTS AND AUTHORITIES

I.    INTRODUCTION

      Plaintiffs Stewart Smith (“Smith”) and Brennan Landy (“Landy”)

(collectively “Plaintiffs”) allege in their complaint, filed on behalf of themselves

and a class of similarly situated individuals, that Defendant Pro Custom Solar LLC

d/b/a Momentum Solar (“Defendant” or “Pro Custom”) violated the Telephone

Consumer Protection Act (“TCPA”) by making unsolicited, autodialed and

prerecorded phone calls to consumer cell phones without prior express written

consent. In response, Defendant’s scattershot motion asks the Court for relief in a

variety of forms, including a stay, dismissal, judgment on the pleadings, and

permission to file a motion for summary judgment. On February 26, 2020, the

Court denied the portions of Pro Custom’s motion seeking dismissal and judgment

on the pleadings and thereby limited briefing to Defendant’s request to stay the

case. (Dkt. 11.)

      Fortunately for Plaintiffs and the Class, Pro Custom’s argument to stay the

case does not hold up. Pro Custom misleadingly frames an upcoming Supreme

Court case as bearing on the constitutionality of the entire TCPA, when in fact that

case relates to a content-based exemption for certain debt collection calls, which is

readily severable from the TCPA and not at issue in this case. Though Defendant

may be eager to do away with the TCPA, it cannot credibly assert that the Supreme


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Court is likely to do so—its speculation on what the Supreme Court may do is not

grounds for a stay. Likewise, Defendant’s analysis of the factors that support a

Landis stay is flawed, as the neither judicial efficiency nor the balance of harms

favor delaying this matter. Put simply, Pro Custom’s request for a stay is meritless.

      Accordingly, and as explained below, the Court should deny Defendant’s

Motion and permit this matter to proceed to discovery.

II.   SUMMARY OF THE CLAIMS

      In the Complaint, Plaintiffs claim that Pro Custom violated the TCPA by

making unsolicited, autodialed and prerecorded calls to their cellphones and to the

cellphones of a class of consumers, all of whom did not provide prior express

written consent to receive such calls. (See Compl., dkt. 1 at ¶ 42.) One of the

components of the autodialed claim is that the technology used by Pro Custom to

make the calls qualifies as an ATDS under the TCPA—equipment with the

capacity to store or produce telephone numbers to be called using a random or

sequential number generator, and to thereafter dial such numbers. (See id. ¶¶ 10,

44–45.)

      Smith alleged four different calls from Defendant that were made with an

ATDS or prerecorded voice, and he “never provided any oral consent or written

consent” to receive such calls. (Id. ¶¶ 20–22.) Similarly, Landy alleged two calls

received from Defendant that featured a pre-recorded voice—Landy also alleged


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that he “never provided any oral consent or written consent” to receive the calls.

(Id. ¶¶ 25–28.) By making the calls alleged in the Complaint, Defendant caused

harm to Plaintiffs and to a class of individuals who experienced the same calls

without providing any consent. (See id. ¶¶ 31–32.)

       In order to redress these harms on behalf of themselves and the other Class

members, Plaintiffs alleged and will seek to certify the following class:

       No Consent Class: All persons in the United States who (1) from the
       date four years prior to the filing of this Complaint through the date
       notice is sent to the class; (2) received at least one call from Defendant,
       or a third person acting on behalf of Defendant; (3) on the person’s
       cellular telephone; (4) for the purpose of selling Defendant’s solar
       products and services; (5) using the same equipment that was used to
       call the Plaintiffs; and (6) for whom Defendant claims it obtained prior
       express written consent in the same manner as Defendant claims it
       obtained prior express written consent to call the Plaintiffs.

(Id. ¶ 33.) As the term “No Consent Class” suggests, this proposed class is limited

to consumers for whom Pro Custom “claims it obtained prior express written

consent” to call in the same manner as it may claim it did to call Plaintiffs—as

alleged by Plaintiffs, no consent was given, and the same would be true for

consumers who fit the class definition. (Id.) (emphasis added).

III.   ARGUMENT

       Pro Custom’s request for a stay, premised on an apparent confidence that the

TCPA’s restrictions on autodialers will be declared unconstitutional,

mischaracterizes the issue before the Supreme Court. The AAPC case concerns an


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exemption to the TCPA for certain debt collection calls which are not at issue here,

and only a (unlikely) decision to invalidate the entire statute as unconstitutional

would have any bearing here. A stay pending Pro Custom’s pie-in-the-sky

expectation is not appropriate. Further, Defendant has failed to justify a stay under

the relevant factors for consideration. Staying the case will not promote judicial

economy or simplify any issues, and the balance of harms weighs against

postponing the case.

      In short, Defendant’s request is without merit, and the Court should

therefore deny what remains of Pro Custom’s motion.

      A.     The Supreme Court’s AAPC Ruling Will Not Likely Have Any
             Bearing On Plaintiffs’ Claims, And A Stay Is Inappropriate.
      At the outset of its motion, Pro Custom asks the Court to stay the case

pending the Supreme Court’s ruling in the AAPC matter. However, Defendant’s

motion overstates the scope of the Supreme Court’s review, which is considerably

less likely to impact this litigation than Pro Custom posits. Accordingly, a stay

pending resolution of an issue that bears no relation to Plaintiffs’ complaint would

be inappropriate.

      Defendant’s motion to stay is premised on the Supreme Court’s decision to

grant certiorari and review the Fourth Circuit’s recent ruling in American

Association of Political Consultants, Inc. v. FCC, 923 F.3d 159 (4th Cir. 2019).

The AAPC case concerns a challenge to the constitutionality of a TCPA exemption

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for debt collection calls. In 2015, Congress enacted a third exemption1 to the

TCPA’s ban on automated calls to permit calls “made solely to collect a debt owed

to or guaranteed by the United States.” AAPC, 923 F.3d at 162 (citing Bipartisan

Budget Act of 2015, Pub. L. No. 114-74, § 301(a), 129 Stat. 584, 588 (2015)).

      In 2016, AAPC and several other plaintiffs challenged the debt collection

exemption to the TCPA as unconstitutional in the Eastern District of North

Carolina. See Am. Ass’n of Political Consultants, Inc. v. Sessions, 323 F. Supp. 3d

737, 739 (E.D. N.C. 2018). The court ultimately granted summary judgment in

favor of the defendant, finding that: (1) the TCPA’s government-debt exemption

was a content-based restriction of speech; but (2) the exemption withstood strict

scrutiny and therefore was not unconstitutional. Id. at 743–44. On appeal, the

Fourth Circuit vacated and remanded the district court’s findings. The Court in

AAPC agreed that the government-debt exemption was a content-based restriction

on speech, but held that it could not withstand strict scrutiny because it is

“woefully underinclusive” and impedes the compelling privacy interest that the

TCPA was enacted to protect. AAPC, 923 F.3d at 168–170. In other words, the

exemption cannot be said to further a compelling interest “when it leaves




1
 The first two exemptions, included in the TCPA when it was originally enacted in
1991, are for calls made for emergency purposes and calls made with the prior
express consent of the called party. See 47 U.S.C. § 227(b)(1)(A).
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appreciable damage to that supposedly vital interest unprohibited.” Id. at 170

(quoting Reed v. Town of Gilbert, Ariz., 135 S. Ct. 2218, 2232 (2015)).

      Rather than striking the automated call ban or the TCPA itself as

unconstitutional, the Fourth Circuit ordered the Supreme Court’s “preferred

remedy”: severance of the government-debt exemption from the TCPA. Id. at 171–

72. The Court explained that severance was appropriate for a number of reasons.

First, severance of a flawed portion of a statute is often the Supreme Court’s

“required course” to “limit the impact of its ruling of constitutional infirmity” and

leave the valid remainder of a statute intact. Id. at 171 (citing Free Enter. Fund v.

Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 508 (2010); Ayotte v. Planned

Parenthood of N. New Eng., 546 U.S. 320, 328 (2006)). Second, the preference for

severance is bolstered by the TCPA’s explicit mandate that if any part “is held

invalid, the remainder . . . shall not be affected.” Id.; 47 U.S.C. § 608. Finally, the

Court noted that the automated call ban would not be undermined by severance

because “[f]or twenty-four years, from 1991 until 2015, the automated call ban was

‘fully operative’” without the government-debt exemption. AAPC, 923 F.3d at 171

(citing Free Enter. Fund, 561 U.S. at 509).

      The Ninth Circuit reached the same conclusions in Duguid v. Facebook,

Inc., 926 F.3d 1146 (9th Cir. 2019). “The newly enacted exception [for

government-debt calls] did not suddenly and silently become so integral to the


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TCPA that the statute could not function without it.” Id. at 1157. Thus, the Court

similarly concluded that severing the violative exemption “preserves the

fundamental purpose of the TCPA” and restores the Act to a content-neutral state.

Id.

      Here, Plaintiffs’ claims do not relate to the government-debt collection

exemption in any way. Nevertheless, Defendant claims that there are “multiple

outcomes” in the Supreme Court’s review that could impact this case, thereafter

detailing only one such outcome—a determination that the TCPA and its

restrictions on autodialed calls are rendered unconstitutional in their entirety by the

government-debt exemption. (Dkt. 9-1, at 2.) This is the only outcome described

by Pro Custom because it is the only scenario in which the AAPC decision could

impact this case in any way. Plaintiffs wouldn’t presume to divine with any

certainty how the Supreme Court will rule, but Pro Custom’s prediction that a

nearly thirty-year-old statute will be thrown out due to the unconstitutionality of a

five-year-old exemption is farfetched at best, especially given that severance is not

only preferred by the Supreme Court but required by the TCPA itself. AAPC, 923

F.3d at 171–72; Duguid, 926 F.3d at 1156–57.

      B.     The Factors Of A Landis Stay Are Unsupported In This Case.
      Defendant’s subsequent analysis of the factors supporting a stay is likewise

flawed. Though courts have inherent power to control their own dockets, which


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includes the power to stay, any party seeking a stay “must make out a clear case of

hardship or inequity in being required to go forward, if there is even a fair

possibility that the stay for which he prays will work damage to someone else.”

Iowa Network Services, Inc. v. AT&T Corp., No. 3:14-cv-3439 (PGS) (LHG), 2019

WL 4861438, at *6 (D. N.J. Oct. 2, 2019) (quoting Landis v. North Am. Co., 299

U.S. 248, 255 (1936)). When considering the suitability of a stay, courts in this

circuit analyze the following factors: (1) whether a stay will simplify issues and

promote judicial economy; (2) the balance of harm to the parties; and (3) the length

of the stay. Bais Yaakov of Spring Valley v. Peterson’s Nelnet, LLC, Civ. No. 11-

0011, 2011 WL 4056318, at *2 (D. N.J. Sept. 12, 2011) (citing McDonald v.

Novartis Pharms., Corp., No. 07-0655, 2007 WL 4191750, at *1 (D. N.J. Nov. 20,

2007)).

      Here, the relevant factors do not support granting a stay. Delaying this

matter while the Supreme Court considers the constitutionality of the government-

debt exception to the TCPA—one that is not at issue in this case—does not

promote judicial economy or simplify any issues. Rather, it is a request to postpone

the case so that Defendant can wait and hope that review of a discrete (and here,

immaterial) exemption to the TCPA’s automated-call ban balloons into a

wholesale invalidation of the law and relieves Pro Custom and other companies of

all restrictions on their telemarketing.


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      Though Pro Custom may “expect” the Supreme Court to rule within four

months, it fails to justify a stay with any hardship or inequity that would result

otherwise. (See Dkt. 9-1, at 3.) Defendant touches lightly on the potential for harm,

claiming only that neither party would be harmed by a stay. (Id. at 4.) But the

balance of harms is not just a question of whether a stay would harm the parties—

of course, it is unlikely that any movant seeking a stay would be harmed the very

relief that they seek. As described in Landis, the balance is between the potential

for harm to the non-movant if the case is stayed and the “hardship or inequity in

being required to go forward” that the movant would experience if the case is not

stayed. See Landis, 299 U.S. at 255.

      Pro Custom presents no such hardship in the motion aside from the natural

costs of litigation that it asserts will be rendered “unnecessary,” based on its long-

shot prediction the Supreme Court will nullify the entire TCPA upon review of a

single, potentially unconstitutional exemption. (See Dkt. 9-1, at 3–4.) On the other

hand, Plaintiffs stand only to be harmed by a stay. The injunctive relief they seek is

necessary to prevent continued automated calling to themselves and the Class, and

every month that this matter is delayed is another month for Pro Custom to

continue its unlawful practices and exacerbate the harms at issue in the case (See

Dkt. 1, at ¶ 32.) Further, the difficulty for Plaintiffs to prove their case can only

increase with a stay, as the passage of time inevitably impacts witness memory and


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the availability of evidence. See Ciolli v. Iravani, No. 2:08-cv-02601, 2008 WL

4412053, at *3 (E.D. Pa. Sept. 23, 2008). Thus, the balance of harms does not

favor granting a stay.

      In short, Pro Custom has failed to justify its motion to stay under the

relevant factors for consideration. Postponing this matter will not serve judicial

economy and will not simplify any issues, as the Supreme Court case in question is

unlikely to have any bearing on these proceedings. Only Pro Custom stands to

benefit from a stay—the passage of time will inevitably work against Plaintiffs and

their pursuit of relief, while Defendant will be permitted to continue its

telemarketing without being held to account. Accordingly, a stay is inappropriate,

and the case should proceed.

IV.   CONCLUSION

      The Court should deny Pro Custom’s motion on all counts. Pro Custom

seeks only to delay this matter, and the Supreme Court’s ruling on the

constitutionality of the TCPA’s government-debt collection exemption will have

no bearing on the case. Defendant claims that the relevance of the Supreme Court’s

review of AAPC to this case “cannot be overstated,” but it has done precisely that.

(See Dkt. 9-1, at 3.) The Supreme Court is poised to consider the constitutionality

of the government-debt exemption that was recently added to the TCPA—that




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exception is not applicable to this case, and barring an implausible upending of the

entire TCPA, the opinion is unlikely to have any bearing on this action.

      Accordingly, a stay is inappropriate. The Court should deny Defendant’s

motion, permit the parties to commence discovery, and award any such relief as it

deems necessary and just.



                                       Respectfully submitted,

Dated: March 3, 2020                   By: /s/ Ari Marcus
                                          One of Plaintiffs’ Attorneys

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                         CERTIFICATE OF SERVICE

      I hereby certify that the above papers were filed through the Court’s ECF

system, which will serve the papers electronically to all counsel of record.



                                        /s/ Ari Marcus
